46 , \D 7'“>

 

Fill in this information to identify your case

 

United States Bankruptcy Court for the: F l L E D
WESTERN DlSTRlCT OF WASHlNGTON t 9 HAR __6 ha 93 81
Case number (ifknown) Chapter you are filing under:

 

H. r.. irr;ri;re;§€. cut
- ' ~ examiner seem
Chapter? ur'r§e§e gee ar status

 

n Chapter 11 n aug
i:l Chapter 12 ,EY M§£?-»e t
EJ chapter 13 L`.l Check rfrhis an

 

 

 

amended filing 0

Official Form 101
Voluntary Petition for individuals Filing for Bankruptgy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish

between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct information. lf

more space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write your name and case number (if known). Answer
every question.

    
    
  

identify You rself

Your full name

Write the name that is on Doris
your government-issued Fi,-St name
picture identifrcation (for

example, your driver”s Denise
license or passport).

 

 

FifSt name

 

 

 

 

Middle name Middle name
Bring your picture .
identiiication to your Gray'wi"'am
meeting with the trustee La$t name and SufFlX (Sr-l Jr.. i|. l||) Last name and Sufhx (Sr., Jr., |l, l||)

 

 

2. All other names you have Denise wi“;ams

used in the last 8 years Doris Denise Williams

include your married or Denise D Gray
maiden names.

 

 

3. On|y the last 4 digits of
your Socia| Security
number or federal xxx_xx_603o
individual Taxpayer
ldentit"rcation number
(lTlN)

 

 

Of"°ia'F°"“ 1°1Case 19-10740-CMA°'“'BU€%E‘"°']FH§U“U§!GBE'§‘Qf‘EHt.'"U':We/le 09:13:35 Pg. 1 of 51 page‘

Debtor1 Doris Denise Gray-William Case number (/rknown)

 

 

4. Any business names and

 

 

 

 

 

 

 

 

 

 

 

 

 

Emp|oyer identification
Numbers (E|N) you have l l have not used any business name or Ele. L'J l have not used any business name or Ele.
used in the last 8 years
include trade names and Business name(s) Business name(s)
doing business as names
EiNs Ele
5. Where you live if Debtor 2 lives at a different address:
35703 16th Ave S #L202
Federal Way, WA 98003
Number, Street, City, State & ZlP Code Number, Street, City, State & ZlP Code
King
County County
lf your mailing address is different from the one lf Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any in here. Note that the court will send any notices to this
notices to you at this mailing address. mailing address.
Number, P.O. Box, Street, City, State & ZlP Code Number, P.O. Box, Street, City, State & ZlP Code
6. Why you are choosing Check one.' Check one:
this district to tile for
bankruptcy - Over the last 180 da S before f||in this etition n OVei' the iaSt 180 days before filing this petiiiOn, i
y 9 P - . . . . .
t have lived in this district longer than in any have lived rn this drstrrct longer than rn any other
other district district-
U i have another reason. n l have another reason-
Exprain. (see 28 u.s.c. § 1408.) Explain- (See 28 U-S-C_ § 1408-)

 

 

 

 

°f"°‘a""°"“ iocase 19-10740-<:MA°'“"BU<??E“‘°'|FHHU°U§}Bb/Et'§‘g"EH?!"UWbb/w 09:13:35 Pg. 2 of 51 pagez

Debtor1 Doris Denise Gray.Wi||iam Case number (ifknown)

 

Tell the Court About Your Bankruptcy Case

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Fonn 2010)). A|so, go to the top of page 1 and check the appropriate box.
choosing to file under
l Chapter 7
i:i Chapter 11
U Chapter 12
i:i Chapter 13

 

8. How you will pay the fee l:i l will pay the entire fee when l file my petition. Please check with the cierk's office in your local court for more details
about how you may pay. Typicaily, if you are paying the fee yourseif, you may pay with cash, cashier check, or money
order. if your attorney is submitting your payment on your behalfl your attorney may pay with a credit card or check with
a pre-printed address

l need to pay the fee in installments if you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in lnstallments (Oi‘ficial Form 103A).

l l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). lf you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for - No
bankruptcy within the `
last 8 years? l:i Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy - NO
cases pending or being
filed by a spouse who is I:l ves_
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case numberl if known
11. Do you rent your |:| N°_ Go to line 12.
residence? , _ _ _ _ _ _
- Yes_ Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

- No. Go to line 12.

|:| Yes. Fill out Initial StatementAbout an Eviction Judgment Against You (Fon'n 101A) and file it with this
bankruptcy petition.

 

°ii'°‘a'F°"“ 1°€:ase 19-10740-CMX°'"'BU€T“°'|FH&'B°U§BEE'§‘Q"Elit.'"t§%'ibb/19 09:13:35 Pg. 3 of 51 page3

Debtor1 Doris Denise Gray-William

Case number (irknown)

 

meport About Any Businesses You Own as a Soie Proprietor

12. Are you a sole proprietor
of any fu|l- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

l No.

i:i Yes.

Go to Part 4.

Name and location of business

 

Name of business, if any

 

Numberl Street, City, State & Z|P Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101 (27A))

Sing|e Asset Rea| Estate (as defined in 11 U.S.C. § 101 (51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as denned in 11 U.S.C. § 101(6))

None of the above

Eii:ii]i'_`ii'_`i

 

13. Are you filing under
Chapter 11 of the

Bankruptcy Code and are

you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are hling under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines lf you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

- No.

i:i No.

i:i Yes.

l am not filing under Chapter 11.

l am filing under Chapter 11, but | am NOT a small business debtor awording to the dennition in the Bankruptcy
Code.

l am filing under Chapter 11 and l am a small business debtor according to the dennition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Oi' do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

- No.
i'_'l Yes.

What is the hazard?

 

if immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Of"°‘a'F°"“1°c‘;ase 19-10740-<:i\/iK°'"'BU€T“‘°'i-*H&'G"U§lbi§/Eb‘g*‘EFlt.'"tS%‘ibb/w 09:13:35 Pg. 4 of 51 page"'

Debtor 1

Part 5:

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. if you cannot do
so, you are not eligible to
file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

 

Doris Denise Gray-William

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

|:l

Vlhthin 14 days after you file this bankruptcy
petition, you MUST nle a copy of the certincate and
payment plan, if any.

l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afteri made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

Ei

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case,

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you nle.
You must file a certincate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

l am not required to receive a briefing about
credit counseling because of:

El

i:j lncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

|:l Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the intemet, even after l
reasonably tried to do so.

I:l Active duty.
| am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

ou must c ec one.
L'_'I il received a briefing from an approved credit

Case number (irkiiawn)

 

 
 
  
 

     
   

counseling agency within the 180 days before l filed
this bankruptcy petition, and i received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but i do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement

Tc ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
nled for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. if you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

l am not required to receive a briefing about credit
counseling because of:

[:j lncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

[:| Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the intemet, even after i reasonably tried to
do so.

l'_'| Active duty.
l am currently on active military duty in a military
combat zone.

lf you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

 

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Debtor 1

Doris Denise Gray-William

Case number (lrlmown)

 

mAnswer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101 (8) as "incurred by an
individual primarily for a personal, family, or household purpose.”

El No. Go to line 16b.
l Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

l'_'l No. co to line 16c.
E ¥es. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
. property is excluded and

|'_'| No_ l am not filing under Chapter 7. Go to line 18.

- Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
are paid that funds will be available to distribute to unsecured creditors?

 

 

 

administrative expenses l N°
are paid that funds will
be available for Ei Yes
distribution to unsecured
creditors?
18. now many creditors do l 149 l:l 1,000-5,000 Cl 25,001-50,000
§¢:vi;;stlmate that you m 50_99 [_'| 5001_10,000 l:l 50,001-100,000
|:| 100_199 n 10,001-25,000 L'l More than100,000
lli 200-999
19. Ho\_~ much do you l $0 _ $50,000 El $1,000,001 - $10 million El $500,000,001 - $1 billion
::t:,';;a,tt;¥°"' ass°w t° l:l $50,001 - $100,000 El $10,000.001 - $50 million E| $1,000,000,001 - $10 billion

lZl $100,001 - $500,000
ill $500,001 - $1 million

El $50,000,001 - $100 million
El $100,000,001 - $500 million

ij $10,000,000,001 - $50 billion
El More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

l:l $o - $50,000

l $50,001 - $100,000
El $100,001 - $500,000
lJ $500,001 - s1 million

Ei $1,000,001 - $10 million

El $10,000,001 - $50 million
El $50,000,001 - $100 million
E $100,000,001 - $500 million

iii $500,000,001 - $1 billion

El $1,000,000,001 - $10 billion
lZl $10,000,000,001 - $50 billion
lIl More than $50 billion

 

Part 7: Sign Be|ow

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct.

lf l have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and l choose to proceed under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

, 71, ( MZZ

 

 

 

Doris Denise Gray-William / Signature of Debtor 2
Signature of Debtor 1
Executed on Executed on
MM/DD/YYYY MM/DD/YYYY

 

°f"°‘a":°"" 1°@;33@ 19-10740-CMX°'“'BU@?E‘"°'|=‘H&'B“U§}BBE@‘Qf‘EHf.'"iS%'ii§’o/le 09:13:35 Pg. 6 of 51 pages

Debf°\'i Doris Denise Gray-William Case number (lfknown)

 

 

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by an
attorney, you do not need to
f”lle this page.

The law allows you, as an individual, to represent yourself in bankruptcy coult, but you should understand that many
people find it extremely difficult to represent themselves successful|y. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attomey.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trusteel U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. |f that happens, you could lose your right to his another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to Hle with the court. Even if you plan to pay
a particular debt outside of your bankruptcyl you must list that debt in your schedules |f you do not list a debt, the debt may
not be discharged lf you do not list property or properly claim it as exempt, you may not be able to keep the property The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourse|f. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

C] No
- Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

|:l No
l Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

l:l No
l Yes Name of Person Steven Suddarth
Attach Bankruptcy Petition Preparer's Noii'ce, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that l understand the risks involved in filing without an attorney. l have read and understood
this notice, and | am aware that filing a bankruptcy case without an attorney may cause me to lose my rights/or property ifl do
properly h le the case. ‘ »

"W/¢/al&rlu§

 

 

 

 

 

 

 

Doris Denise Gray-William l Signature Of Debf°r 2
Signature of Debtor 1
Date [j? /q ;zO/Y Date

MM/DD/YYYY MM/DD/YYYY
Contact phone Contact phone
Cell phone Cell phone
Email address Email address

 

 

 

°f"°‘a'p°"" ‘°<i:ase 19-10740-<:l\/lX°'“'i§dop€i‘“‘°'l-*flé'ti°i!§fcb/et©‘g"Elit!"d%*ii‘)`b/le 09:13:35 Pg. 7 or 51 pegee

 

Fill in this information to identify your Case

Debtor 1 Doris Denise Gray-William
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASHlNGTON

 

Case number
(if known)

 

 

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical information

n Check if this is an

amended filing

12I15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file

your original fonns, you must fill out a new Summary and check the box at the top of this page.

msummarize Your Assets

1. Schedule AIB: Property (Official Form 106AIB)
1a. Copy line 55, Total real estate, from Schedule A/B ................................................................................................

1b. Copy line 62, Total personal property, from Schedule A/B .....................................................................................

1c. Copy line 63, Total of all property on Schedule A/B ...............................................................................................

wmmarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Officia| Form 106D)

 

$ 0.00
$ 25,816.62
$ 25,816.62

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 251703'00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) o 00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ................................. $ _____'_
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ............................ $ 27,537.35
Your total liabilities $ 53,240.35
Summarize Your income and Expenses
4. Schedule I: your income (Oflicial Form 106|) 839 42
Copy your combined monthly income from line 12 of Schedulel ................................................................................ $ __________'_
5. Schedule J: Your Expenses (Officia| Form 106J) 1 717 00
Copy your monthly expenses from line 22c of Schedule J .......................................................................... $ _________'_'___

mswer These Questions for Administrative and Statist|cal Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

ij No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts Consumer debts are those “incurred by an individual primarily for a personal, family, or

household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

E| Your debts are not primarily consumer debts You have nothing to report on this part of the forrn. Check this box and submit this form to

the court with your other schedules
Official Form 1063um Summary of Your Assets and Liabilities and Cer\ain Statistica| information

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page 1 of 2

Best Case Bankruptcy

Case 19-10740-CMA DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 8 Of 51

 

Debtor1 D°ris Denise GEy.Wi||iam Case number (ifknown)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

 

122A-1 Line 11; oR, Form 1223 l_ine 11; oR, Form 1220-1 Line 14. $ 2'195'66
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F: `
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ 0.00 l
l
9d. Student loans. (Copy line 6f.) $ 8,983.00 l
9e. Obligations arising out cfa separation agreement or divorce that you did not report as o 00 §
priority claims. (Copy line 69.) $ ______'_ l
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
99. Totai. Add lines 9a through 9f. $ 8,983.00
Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2
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Case 19-10740-CMA DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 9 Of 51

Fill in this information to identify your case allil ll)l\- l,

Debtor1 Doris Denise Gray-William

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) Firsf Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASH|NGTON

 

Case number l:l Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule AlB: PropertL izns

in each category, separately list and describe ltems. Llst an asset only once. if an asset Hts in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possibie. iftwo married people are filing together, both are equally responsible for supplying con'ect

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Bui|ding, Land, or other Real Estate You own or Have an interest in
1. Do you own or have any legal or equitable interest irl any residence, bullding, land, or similar property?

l No. co to Part 2.
n Ves. Where is the property?

Mescribe Your Vehic|es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicle, also report it on Schedule G: Executon Confracts and Unexpl'red Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      

 

 

 

 

 

 

    

l:i No

l Yes

3.1 Make; Chi'y$lei' Who has an interest in the property? check one
Model: 200 l Debtor1 only b _ _ . t
Yea'f 2013 |:l Debtor 2 only current value ortho current value or the
Approximate mileage: |:| Debtor 1 and Debtor 2 only entire property? portion you own?
Othel’ inf°miaii°nf n At least one of the debtors and another

Ei check ifthis is community property 312’995-°° 512’995-°°
(see instructions)

3.2 lvlal<e; Nissan who has an interest in the property? cheek one
Model: SL - Debtor1 only _ o , ,
Yearf 2008 m Debtor 2 only current value orche current value ortho
Approximafe mileage: 1 16000 n Debtor 1 and Debtor 2 only entire property? portion you own?
Oiher informationf l:i At least one of the debtors and another

 

n Check if this is community property $6’871'00 $6’877'00

(see instruaions)

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

l No

\:i Yes
Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 Doris Denise Gray-William Case number (ifknown)

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that number here => $19’872'°0

 

 

 

Part 31 Describe Your Personai and Househoid items
gte

 

. Househoid goods and furnishings
Examples: Major appliances, furniture, linens, chinal kitchenware

\:i No
- Yes. Describe .....

 

LHousehoidL>ods and furnishings $2,000.00

 

7. Eiectronics '

Examples: Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
i:l No

l Yes. Describe .....

 

iEiectronics 1 $1,000.00

 

8. Coliectibles of value

Examples: Antiques and figurines; palntings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles
l No

l:l Yes. Describe .....

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment', bicycles, pool tables, golf ciubs, skis; canoes and kayaks; carpentry tools',
musical instruments

 

 

 

 

l No
l:l Yes. Describe .....
10. Firearms
Examples: Pistols, rifles, shotguns, ammunitionl and related equipment
El No
- Yes. Describe .....
hobby equipment $400.00
11. Clothes
Examples: Everyday clothesl furs, leather coats, designer wearl shoes, accessories
El No
l Yes. oeeoribe .....
Mearingappare| | _______M

 

 

12. Jewe|ry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

l:l No
l Yes. Describe .....

 

ere|r! $1,500.00

 

 

13. Non-farm animals
Examples: Dogsl cats, birds, horses

l No
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Debtor1 Doris Denise Gray.Wi||iam Case number (ifknown)

l'_'i Yes. Describe .....

14, Any other personal and household items you did not already iist, including any health aids you did not list
l No

|:l Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. write that number here $5,400.00

 

 

 

Part 4 Describe Your Financial Assets

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition

l:l Nc
l Yes ................................................................................................................

Cash $30.00

 

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unionsl brokerage houses, and other similar
institutions. if you have multiple accounts with the same institution, list each.
L_.l No 4

l Yes ........................ lnstitution name:

17.1. checking Wells Fargo $50.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage hrms, money market accounts

INo

El Yes __________________ institution or issuer name:

19. Non-public|y traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

|:l Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

l No
l:l Yes. Give specinc information about them
lssuer name:

21 . Retirement or pension accounts _
Examples: interests in iRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or proEt-sharing plans
|'_`| No

l Yes. List each account separate|y.
Type of account: institution name:

401 K not available Wells Fargo Unknown

 

 

22. Security deposits and prepayments
¥our share of ali unused deposits you have made so that you may continue service or use from a company _
Examples: Agreements with landlords, prepaid rent, public utilities (e|ectric, gas, water), telecommunications companies, or others

ENo

Ofncia| Form 106A/B Schedule A/B: Property Pag€ 3
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Debtor1 Doris Denise Gray-William Case number (ifknown)

l Yes_ ____________________ institution name or individual:

security deposit landlord deposit $400.00

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No

\:\ Yes _____________ issuer name and description

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

l No
|:| Yes_____,_"____ institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (othor than anything listed in line 1), and rights or powers exercisable for your benefit
l No

I:i Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

- No
l:l Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Bui|ding permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
- No

I:l Yes. Give specific information about them...

 

28. Tax refunds owed to you
l No

l:l Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement
- No ~

l:l Yes. Give specific information ......

30. Other amounts someone owes you . _
Examples: Unpaid wages, disability insurance paymentsl disability benefits, sick payl vacation pay, workers' compensation, Social Security
benefits; unpaid loans you made to someone else
l No

[] Yes. Give specific information..

31. interests in insurance policies
Examples: Health, disability, cr life insurance; health savings account (HSA); credit, homeowner’s, or renter's insurance
- No

El Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died '
lf you are the beneficiary cfa living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

l No
l:l ¥es. Give specific information..

Official Form 106A/B Schedule A/B: Property Page 4
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Debtor 1 Doris Denise Gray-William Case number (ifknown)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims. or rights to sue

lNo

L'i Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to setoff claims

INo

EI Yes. Describe each claim .........

35. Any financial assets you did not already list

E\No

l ¥es. Give specific information..

 

\_garnished wages within last 90 days

$64.62

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number herita
masonite Any Business-Related Property ¥ou Own or Have an interest in. List any real estate in Part 1.

37. Do you own or have any legal or equitsble interest in any business-related property?
l No. Go to Part 6.

n Yes. Go to line 38.
Pan 6 Describe Any Fami- and Commerclal Flshing-Related Property You Own or Have an interest in.
lf you own or have an interest in farmland, list it in Palt1.

46. Do you own or have any legal or equitable interest in any farm- or commercial Hshing-related property?
l No. Go to Part 7.

|:l ves. co to line 47.
Describe All Property You Own or Have an interest In That You Did Not List Above

53. Do you have other property of any kind you did not already iist?
Examples: Season tickets, country club membership

-No

El Yes. Give specific information .........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................

List the rotals of Each Part ofthls Form

 

$544.62

 

 

 

 

$0.00

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 $0.00

56. Part 2: Totsl vehicles, line 5 $19,872.00

57. Part 3: Total personal and household items, line 15 $5,400.00

58. Part 4: Total financial assets, line 36 $544.62

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property, Add lines 56 through 61 $25,816_62 Copy personal property total $25,816.62

63, Total of all property on schedule AlB. Add line 55 + line 62 $25,816.62
Official Form 106A/B Schedule A/B: Property Page 5
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Fill in this information to identify your case

Debtor1 Doris Denise Gray-William
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASH|NGTON

 

Case number
(if knewn) g Check if this is an
amended filing

 

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 4116

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, fill out and attach to this page as many copies of Part 2: Additiona/ Page as necessary On the top of any additional pages write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tsx-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one oniy, even if your spouse is filing with you.

[:l You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l Vou are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 
   

garnished wages within last 90 days $64_62 - $64_62 11 U.S.C. § 522(d)(5)
Line from Schedule A/B: 35.1 ____ ________
n 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases nled on or after the date of adjustment.)

l No
El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:l No
E Yes
Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 1
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Fi|| in this information to identify your cases

Debtor 1

First Name

Debtor 2

Doris Denise Gray-William

Middle Name Last Name

 

(Spouse if, hling) First Name

United States Bankruptcy Court for the:

Case number

Middle Name Last Name

WESTERN DlSTR|CT OF WASHiNGTON

 

 

 

 

(ifknown) |:i Checkifthisisan
amended filing

QW

Schedule D: Creditors Who Have ¢laims Secured by Property 12115

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additional Page, fill it out, number the entries, and attach lt to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?
l:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
- Yes. Fill in all of the information below.

Part 1 List All Secured Claims

  

        

 

   

    

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1 Global Credit Union Describe the property that secures the olaim: $15,231.00 $12,995.00 $2,236.00
C'°d“°"§ Name 2016 Chrysler 200
1 2 rd v
5 o w 3 A e Po B°x As of the date you file, the claim is: cheek all that
3200 app,y_
Spokane, WA 99204 ij Contingem
Number, Street, Ciiy, stale a zip code n uniiquidaied
El Disputed
Who owes the debt? Check one Nature of lien. Check all that apply.
n Debtor 1 only - An agreement you made (such as mortgage or secured
l:i Debtor 2 only car loan)
n Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lien. mechanic's lien)
- At least one of the debtors and another L_-| Judgmenf lien from a lawsuit
E Check if this claim relates to a n Other (including a right to offsei)
community debt
Date debt was incurred Last 4 digits of account number
Prestiege Finanoial svos Describe the property mimms the cialm= $10,412.00 $6,871.00 $3,595.00
Cr°""°‘“$ Name 2008 Nissan SL 116000 miles
1420 S 500 W laipsplc;f the date you tile, the claim is: cheek all that
salt Leke city, uT 841 15 g Conungem
Number, streetl city, stare a zip code E] unliquidated
El Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
l Debt°, 1 oniy l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
I:i Debtor1 and Debtor 2 only l:\ Statutory lien (such as tax lienl mechanics lien)
n At least one of the debtors and another n Judgment lien from a lawsuit
n Check if this claim relates to a l:l Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
official Form 1060 schedule D: creditors who Have claims secured by Property page 1 Of 2
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Pg. 16 0f51

Debtor1 Doris Denise Gray-William Case number (if know) §
First Name Middie Name test Name `

 

 
 
 

   
 

 
  

$25,703.00
$25,703.00

 
    

  

th e la p g of you
Write that number here:

 

z: l_' totne to

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Case 19-10740-C|\/|A DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 17 Of 51

Fill in this information to identify your cast1

Debtor1 Doris Denise Gray-William
First Name Middle Name Last Name

Debtor 2
(Spouse if, ti|ing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASHlNGTON

 

Case number
(if known)

 

|:| Check ifthis is an
amended filing

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a clalm. Also list executory contracts on Schedule AIB: Property (Oflicia| Form 106AIB) and on
Schedule G: Executory Contracts and unexpired Leases (Offlclal Form 1066). Do not lnclude any creditors with partially secured claims that are listed ln
Schedule D: Creditors Who Have Claims Secured by Property. if more space ls needed, copy the Part you need, hll it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. if you have no information to report ln a Part, do not tile that Part. On the top of any additional pages, write your

name and case number (if known).
Lie¢ Aii cf Your PRioRiTY unsecured claims
1. Do any creditors have priority unsecured claims against you?
l No. Go to Part 2.
g Yes.
m Aii cf Your NoNPRioRiTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

l:] No. You have nothing to report in this part Submit this form to the court with your other schedules

l Yes.

    

4.1 Bank of Missouri
Nonpriority Creditor‘s Name

5109 S Broadband Ln
Sioux Fal|s, SD 57109

Last 4 digits cf account number $427.00

When was the debt incurred?

 

Number Street City State Zip Code
Who incurred the debt? Check one_

- Debtor1 only

n Debtor 2 only

l:l Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community
debt

ls the claim subject to offset?
- No
l:l Yes

As of the date you flle, the claim is: Check all that apply

n Contingent

El unliquidated

n Dispuled

Type of NONPR|OR|TY unsecured ciaim:
n Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debts to pension or protit-sharing plans, and other similar debts
l oiner. specify charge off

 

 

Official Form 106 ElF
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Schedule ElF: Creditors Who Have unsecured Claims

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52642 Best Case Bankruptcy

 

Debtor1 Doris Denise Gray-William

 

 

Case number (if knew)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CCS Last 4 dlgll:s of account number 4403 $262.00
Nonpriority Creditor's Name
Payment Processing Center When was the debt Incurred?
PO Box 55126
Boston, MA 02205
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
' Debtor1 only n Contingent
n Debtor 2 only n Un|iquidated
n Debtor1 and Debtor 2 only n Disputed
n At least one of the debtors and another Type °f N°NFR'°R'TY unsecured °'aun:
m Check if this claim is for a community n Student '°a"s
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No n Debts to pension or profit-sharing plans, and other similar debts
|:| Yes l owen Speci¢y colleciton for Wells Fargo Bank
Commenify BanklASj$fwrt Last 4 digits of account number $490.00
Nonpriority Creditor's Name
PO Box 1 82789 When was the debt lncurred?
Columbus, OH 43218
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
m Debtor 2 only El Uniiquidated
E| Debtor1 end Debtor 2 only iIi Disputed
l:l At least one of the debtors and another Type °f N°NFR'°R'TY unsecured clau'u
n Check if this claim is for a community n Student loans
debt n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as pnon'ty claims
. N° n Debts to pension or pmm-sharing plans, and other similar debts
E| Yes l owen Speciry charge account
4.4 credit one Bank Last 4 digits ci account number $682.00
Nonpriority Creditor's Name
PO Box 98872 When was the debt lncurred?
Las Vegas, NV 89193
Number Street City State Zip Code As of the date you lile, the claim ls: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only |I'.i contingent
L'.i Debtor 2 only E| unliquidated
E| Debtor1 and Debtor 2 only El Disputed
U At least one of the debtors and another Type °f N°NPR'°R'TY unsecured °'ai""
i:i check if this claim is for s community m S‘“ue“‘ ‘°3"5
debt n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No n Debts to pension or protit-sharing pians, and other similar debts
n Ye$ . ther_ Specify credit card
Official Form 106 E/F Schedule EIF: Cr'edltols Who Have Unsecured Claims Page 2 of 7
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Debtor1 Doris Denise Gray-William

 

 

Case number (it know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Credifor Last 4 digits of account number $0_00
Nonpriority Creditor‘s Name
212 Wells Ave S #107 When was the debt incurred?
Renton, WA 98057
Number Street City State Zip Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only g Contingent
Ei Debtor 2 only Ei unliquidated
E| Debtor1 and Debtor 2 only Ei Disputed
n At least one of the debtors and another Type cf N°NFR'°R'TY unsecured c\euni
m Check if this claim is for a community m Student loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. No n Debts to pension or profit-sharing plans, and other similar debts
i:i Yes l when Specify notice only
4.6 DsHs Dept °f Finan¢ial Rec Lasudigita of account number 9834 $437.35
Nonpriority Creditor's Name
PO Box 9501 When was the debt lncurred?
Oiympia, WA 98507
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only n Contingent
Ei Debtor 2 only El unliquidated
m Debtor1 and Debtor 2 only n Disputed
n At least one of the debtors and another Type cf N°NFR\°R|TY unsecured clau'“
l:l Check if this claim is for a community n Student '°a"s
debt n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No n Debts to pension or proht-sharing plans, and other similar debts
n Yes - Other. Specify
4.7 ED financial Last 4 digits of account number $8,983.00
Nonpriority Creditor's Name
1 20 N Steven Oakes When was the debt lncurred?
Knoxville, TN 37922
Number Street City State Zip Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only n Contingent
n Debtor 2 °n,y ij unliquidated
n Debtor1 and Debtor 2 only n Disputed
i:i Ai least one of the debtors and another Type of NONPRloR|TY unsecured cla'm`
Ei check ir this claim is for a community l Student ‘°a"e
debt n Obiigatiorls arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. No n Debts to pension or profit-sharing plans, and other similar debts
L`.| Yes |:| other. Specify
student loan
$3183.00
$5,800.00
Ofticia| Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Claims Page 3 of 7
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Debtor1 Doris Denise Gray-William

im

 

 

Case number (it know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Premier Bank Last 4 digits of account number $617.00
Nonpriority Creditor's Name
3820 N Louise Ave When was the debt lncun'ed?
Sioux Fa|ls, SD 57107
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply y
Who incurred the debt? Check one. ll
- Debtor1 only [:l Contingent `
E| Debtor 2 only i:| unliquidated i
n Debtor1 and Debtor 2 only n Disputed i
n At least one of the debtors and another Type cr N°NPRr°RrTY unsecured crcrm:
n Check if this claim is for a community n Student '°ans
cent n Obligations arising out of a separation agreementh divorce that you did not
is the claim subject to offset? report as priority claims
- No n Debts to pension or profit-sharing plans, and other similar debts
i:i \'es l other_ s i credit card
PeC fy
4.9 Ginny's |nc Last 4 digits of account number $416.00 y
Nonpriority Creditor*s Name
1515 S 21st St When was the debt lncurred?
C|inton, |A 52732
Number Street City State le Code As of the date you tile, the claim ls: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only n Contingent
El Debtor 2 only i'_'l unliquidated
|Ii Debtor1 and Debtor 2 only E| Disputed
L_.l At least one of the debtors and another Type °r N°NPR'°R'TY unsecured creur"
n Check if this claim is for a community n Student loans
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority ciaims
- No n Debts to pension or protit-sharing plans, and other similar debts
i:i ves l other_ specify revolving account unsecured
4.1
0 MCM Last 4 digits of account number 6716 $634.00
Nonpriority Creditor's Name
2365 Northside Dr Ste e300 When W¢S the debt '"¢urred?
San Diego, CA 92108
Number Street City State Zip Code As of the date you flie, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only n Contingent
El Debtor 2 only Ei unliquidated
n Debtor 1 and Debtor 2 only n Disputed
i:i At least one of the debtors and another Type cr N°NPRr°R'TY unsecured c'suru
n Check if this claim is for a community n Student '°ans
ueut n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NQ n Debts to pension or profit-sharing plans, and other similar debts
collection for Comenity Bank & Avenue
yourself & Midiand Funding
i:i Yes l Other Specify acci# 4962
Official Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Claims Page 4 of 7
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Case 19-10740-C|\/|A DOC 1 Filed 03/06/19 Eiit. 03/06/19 09213235 PQ. 21 Of 51

Debtor1 Doris Denise Gray-William

 

 

 

 

 

Case number (ifknow)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 19-10740-CMA DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235

4.1 . .
1 Midiand Funding Last 4 digits of account number $2,1 29-0°
Nonpriority Creditor”s Name
2365 Nor|;hside Dr #300 When was the debt incurred?
San Diego, CA 92108
Number Street City State Z|p Code As of the date you flle, the claim |s: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only Cl Contingent
U Debtor 2 only E] unliquidated
n Debtor1 and Debtor2 only n Disputed
n At least one of the debtors and another Type cf N°NPR\°R'TY uncccu'cu cuunu
n Check if this claim is for a community n Student '°ans
debt n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to ofiset? report as priority claims
- No n Debw to pension or profit-sharing plans, and other similar debts
debt buyer
$634.00
$931.00
El Yes - Other. Specify 5554_00
4.1 .
2 Mldnlght Ve|vet Last 4 digits or account number $257-00
Nonpriority Creditor*s Name
1112 7th Ave When was the debt incurred?
PO Box 2816
Monroe, Wl 53566
Number Street City State Zip Code As of the date you lile, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only g Contingent
E| oeotor 2 only E| unliquidated
n Debtor1 and Debtor 2 only n Disputed
n At least one of the debtors and another Type °f N°NFR'°R'TY unsecured °'a'm:
n Check if this claim is for a community n Student '°ans
cent n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No cl Debis to pension or profit-sharing plans, and other similar debts
|:l Yes l otner_ specify revolving unsecured
4.1 .
3 Quick Coliect Last 4 digits ot account number Unknown
Nonpriority Creditor's Name
PQ Box 821330 When was the debt incurred?
Vancouver, WA 98682
Number Street City State le Code As of the date you flle, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 only g Contingent
|:l Debtor 2 only El unliquidated
n Debtor1 and Debtor 2 only l:l Disputed
n At least one of the debtors and another Type °f N°NFR'°R'TY unsecured °‘°im:
g Check if this claim is for a community n Student |°ans
debt n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No n Debts to pension or profit-sharing plans, and other similar debts
|I| Yes l oiher_ specify judgment collection
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecuned Claims Page 5 of 7
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Pg. 22 of 51

 

Debtor1 Doris Denise Gray-William

 

 

 

 

 

Case number (ir know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 . . . . .
4 Soclal Security Administratlon Last 4 digits of account number 6030 $9,022-00
Nonpriority Creditor's Name
PO Box 3430 When was the debt incurred?
Philadelphia, PA 19122
Number Street City State Zip Code As of the date you lile, the claim |s: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only n Contingent
El Debtor2 only |:l unliquidated
n Debtor1 and Debtor 2 only m Disputed
l:l At least one of the debtors and another Type °r N°NFR'°R"Y unsecured cuu'n:
n Check if this claim is for a community n Student '°ans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
. NQ n Debts to pension or profit-sharing plans, and other similar debts
E] Yes l other Specify claimed overpayment
4.1 .
5 Swiss Colony Mongomery Last 4 digits or account number $42-°0
Nonpriority Creditor's Name
1515 S 21st Sf When was the debt incurred?
C|inton, |A 52732
Number Street City State le Code As of the date you liie, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
g Debtor 2 only n Unliquidated
El Debtor1 and Debtor 2 only l'_'l Disputed
n At least one of the debtors and another Type °r N°NPRr°RrTY unsecured °uum:
l:l Check if this claim is for a community n Student '°aus
eenr n Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No n Debts to pension or profit-sharing plans, and other similar debts
m Yes l other Specify revolving
4.1 . . . .
6 Vlrglnla Mason Hospltai Last 4 digits of account number 1937 $3,1 39-0°

 

 

Nonpriority Creditor's Name
PO Box 34924
Seatt|e, WA 98124

 

Number Street City State Zip Code
Who incurred the debt? Check one.

- Debtor1 only

l:l Debtor 2 only

m Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

Cl check ifthis claim is for a community
debt

is the claim subject to offset?
l No
l:l Yes

When was the debt incurred?

 

As of the date you lile, the claim is: Check all that apply

cl Contingent
El unliquidated

El Disputed
Type of NONPR|OR|TY unsecured claim:
n Student loans

n Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts

l Other. Specify medical

 

 

l.iat others to se Notiried About a oebt That You Aiready Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Simllarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notitied for any debts in Parts 1 or 2, do not till out or submit this page.

Name and Address

Official Form 106 E/F
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Schedule ElF: Creditora Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?

Page 6 of 7
Best Case Bankruptcy

Debtor1 Doris Denise Gray-William Case number (irknow)

 

JeSSe D C°nway Affy at Law Line _4_-1_3 of (Check one): l'_'l Part 1: creditors with Prion'ty unsecured claims
5500 NE 107th Ave - _ . . . . .
vancouver, w A 98662 Part 2. Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

King Cnty Dist Crt S Div Burien Crt Line 4.13 of (check one): El Part 1: creditors with Priority unsecured claims

601 SW149th St l . . . . .
. Part 2: Creditors with Non norl Unsecured Claims

Burien, wA 981 66 " tv

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

King County Dist Court l.ine 4.13 of (Check one): El Part i: creditors with Priority unsecured claims
601 SW149th

l Part 2~. creditors with lion riori unsecured claims
seattle, wA 98166 ° “'

Last 4 digits of account number

 

mdd the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured ciaims. This information is for statistical reporting purposes on|y. 28 U.S.C. §159. Add the amounts for each
type of unsecured ciaim.

 

 

6a. Domestic support obligations 6a $ 0.00
Sb. Taxes and certain other debts you owe the government 6b. $ 0.00
Sc. Claims for death or personal injury while you were intoxicated 6c. $ 0_00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0_00
ee. Total Priorlty. Add lines ea through ed. 6e. $ 0.00

 

 

 

 

 

 

 

 

 

 

er student loans 61 t 8,983.00
Sg. Obligations arising out of a separation agreement or divorce that o 00
you did not report as priority claims 69~ $ -
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0_00
6i. Other. Add ali other nonpriority unsecured claims Write that amount 6i.
here 5 18,554.35
6]. Total Nonpriority. Add lines Sf through 6i. 6j. $ 21’531_35
official Form 106 E/F schedule E/F: creditors who Have unsecured claims Piiiie 7 of 7
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Case 19-10740-C|\/|A DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 24 Of 51

 

Fill in this information to identify your caer

Debtor 1 Doris Denise Gray-William

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASHlNGTON

 

Case number
(if known) |:| Check if this is an
amended liling

 

 

 

Official Form 1066

Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, H|| it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

l No. Check this box and iile this form with the court with your other schedules. You have nothing else to report on this form.
E| Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Pmperty (Ofiiciai Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired |eases.

 

 

Name

 

Number Street

 

City State ZlP Code
2.2

Name

 

 

Number Street

 

City State ZlP Code
2.3

Name

 

 

Number Street

 

City State ZlP Code
2.4

Name

 

 

Number Street

 

City State ZlP Code
2.5

Name

 

 

Number Street

 

 

City State ZlP Code
thciai Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case 19-10740-CMA DOC 1 Filed 03/06/19 Elit. 03/06/19 09213235 PQ. 25 Of 51

 

Fill in this information to identify your case

Debtor1 Doris Denise Gray-William

First Name Middle Name Last Name

Debtor 2
(Spouse if, h|ing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASH|NGTON

 

Case number
(ir known) m Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page,
till it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are hling a joint case, do not list either spouse as a codebtor.

l:l No
- Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and temtories include
Arizona, Ca|ifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rioo, Texas, Washington, and Vlhsconsin.)

L_.l No. Go to line 3.
l Yes. Did your spouse, former spousel or legal equivalent live with you at the time?

[:l No
l Yes.

ln which community state or territory did you live? -NONE- . Fill in the name and current address of that person.

 

Name of your spouse, fenner spouse, or legal equivalent
Number, Street, City, State & Zip Code

3. in Column 1 , list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person ls a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Officlal
Form 106D), Schedule EIF (Offlcial Form 106EIF), or Schedule G (Officlal Form 1066). Use Schedule D, Schedule EIF, or Schedule G to fill
out Column 2.

 

3.1 E|i Graham l Schedule D, line 2.1
35703 16th Ave S #P305 g Schedule E/F, line

Federal Way, WA 98003 m Schedule G
G|oba| Credit Union

 

Official Form 106H Schedule H: Your Codebtors Page 1 of1

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Case 19-10740-C|\/|A DOC 1 Filed 03/06/19 Elit. 03/06/19 09213235 PQ. 26 Of 51

 

Fill in this information to identify ‘olii case

Debtor 1 Doris Denise Gray-William

Debtor 2
(Spouse, iftiiing)

 

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASHlNGTON

Case number Check if this is:
tit kncwn) El An amended tiling

 

L_.l A supplement showing postpetition chapter

13 income as of the following date:

Official Form 106|
Schedule |: Your income

MM / DD/YYYY

12I15

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointiy, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Emp|oyment

1. Fill in your employment

 

 

information. 1 , -»
if you have more than one job, E l t mt - Emp|oyed m Emp|oyed
attach a separate page with mp °ymen 5 us
information about additional n N°t emp\°yed n N°t employed
employers. _
Occupation Sa|es
include part-time, seasonal, or
self-employed work. Emp|oyel"$ name LCWeS

 

Oocupation may include student Emp|oyer's address

or homemaker, if lt applies. Federal way’ w A

 

How long employed there? 22 years
Give Detaiis About Monthiy income

Estimate monthly income as of the date you file this form. if you have nothing to report for any iine, write $0 in the space. include your non-filing

spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need

more space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

 

 

 

2- deductions). if not paid monthly, calculate what the monthly wage would be. 2- $ 1'217~66 $ NlA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ NlA
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 1,217.66 $ NlA
Official Form 1061 Schedule I: Your Income page 1
27 Oi 51

Case 19-10740-C|\/|A DOC 1 Filed 03/06/19 Elit. 03/06/19 09213235 PQ.

 

Debtor1 Doris Denise Gray-William case number (ifknown)

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 4 here 4. $ 1 ,217.66 $ NlA
5. List all payroll deductions:
5a. Tax, Medicare, and Soclal Security deductions 5a $ 158.59 $ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ NlA
5c. Voluntary contributions for retirement plans 56. $ 24.35 $ NlA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ NlA
5e. insurance 5e. $ 195.30 $ NlA
5f. Domestic support obligations 5f. $ 0.00 $ NlA
59. Union dues 59. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h.+ $ 0.00 + $ NlA
6. Add the payroll deductions. Add lines 5a+5b+50+5d+5e+5f+59+5h. 6. $ 378.24 $ NlA
Calcuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 839.42 $ NlA
List ali other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 $ NIA
8b. interest and dividends 8b. $ 0.00 $ NIA
8e. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal supportl child support, maintenance, divorce
seltlement, and property settlement 8e. $ 0.00 $ NlA
8d. Unemployment compensation 8d. $ 0.00 $ NlA
8e. Social Security 8e. $ 0.00 $ NlA
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you reoeive, such as food stamps (beneiits under the Supplemental
Nutrition Assistanoe Program) or housing subsidies.
Specify: 8f. $ 0.00 $ NlA
Sg. Pension or retirement income 89. $ 0.00 $ NIA
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ NlA
'9. Add all other income. Add lines 82+8b+80+8d+8e+8f+89+8h. 9. $ 0.00 $ NlA
10. Calcuiate monthly income. Add line 7 + line 9. 10. $ 839.42 + $ NlA = $ 839.42
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-tiling spouse.
1 1. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result lathe combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it 12 $ 839 42
applies . ______._
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this fonn?

E| No.

 

l Yes- Explai"! lMy last Social Security payment was paid in June 2018. l have to find more work.

 

Official Form 1061 Schedule l: Your income page 2
CB_S€ 19-10740-CI\/|A DOC 1 Fll€d 03/06/19 Eii'[. 03/06/19 09213235 PQ. 28 0151

Fill m this information to identity yi;w is 1

Debtor1 Doris Denise Gray.wi||iam Check if this is:
|:| An amended filing

Debtor 2 |:| A supplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:

 

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASH|NGTON MM / DD / YYYY

Case number
(if known)

 

 

 

Official Form 106J
Schedule J: Your Expenses wis

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this forrn. On the top of any additional pages, write your name and case
number (if known). Answer every question.

mescribe Your Househoid
1. is this a joint case?
- No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

El No
l:l Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Househoid of Debtor 2.

 

2. Do you have dependents? . No

 

 

 

 

Do not list Debtor 1 and n Yes. Fiii out this information for Dependent's relationship to Dependent’s Does dependent
Debtor 2_ each dependent .............. Debtor 1 or Debtor 2 age live with you?
_ _ _

Do not state the U No
dependents names. [] yes

l:.l No

l:l Yes

El No

l:l Yes

El No

U Yes

3. Do your expenses include - N°

expenses of people other than cl
yourself and your dependents? Yes

Estimate Your Ongoing Monthiy Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Yourlncome
(Official Form 106|.)

 

4. The rental or home ownership expenses for your residence. include first mortgage 300 00
payments and any rent for the ground or iot. 4- $ '

 

if not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner’s, or renter's insurance 4b. $ 0.00

4c. Home maintenanoe, repair, and upkeep expenses 4c. $ 0.00

4d. Homeowner's association or condominium dues 4d. $ ______~__ 0.00

5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00
Official Form 106J Schedule J: Your Expenses page 1

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Debtor1 Doris Denise Gray-William

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:
Sa. Electricityl heat, natural gas 6a. $ 123.00
6b. Water, sewer, garbage collection 6b, $ 0.00
6c. Telephone, cell phone, intemet, satellite, and cable services 6c. $ 250.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 250.00
8. Chi|dcare and children’s education costs 8. $ 0.00
9. Clothing, iaundry, and dry cleaning 9. $ 10.00
10. Personal care products and services 10. $ 0.00
11. Medical and dental expenses 11. $ 50.00
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments 12- $ 150'°°
13. Entertainment, ciubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitab|e contributions and religious donations 14. $ 0.00
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicie insurance 15c. $ 213.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a. $ 371 .00
17b. Car payments for Vehicie 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: _ 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule i, Your income (Ofticiai Form 106|). 18~ $ 0'00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.
20a. Mortgages on other property 20a $ 0.00
20b. Real estate taxes 20b. $ 0.00
200. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20c. Homeowner’s association or condominium dues 20c. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calcuiate your monthly expenses
22a. Add lines 4 through 21. $ 1,717.00
22b. Copy line 22 (monthiy expenses for Debtor 2), if any, from Official Form 106J-2 $
22c Add line 22a and 22b. The result is your monthly expenses. $ 1,717.00
23. Calcuiate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $ 839.42
23b. Copy your monthly expenses from line 22c above` 23b. -$ 1 ,717.00
23c. Subtract our monthi ex enses from our monthi income.
The resui§tl is your moz)thl; net income.y y 23°' $ '877`58
24. Do you expect an increase or decrease in your expenses within the year after you file this fonn?
For example, do you expect to nnish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?
l:l No.
l Yes. Explain here: | will need to find more income or reduce my expenses.
Official Form 106J Schedule J: ¥our Expenses page 2

Case 19-10740-Cl\/lA DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 30 Of 51

 

 

Fill in this information to identify your case

Debtor1 Doris Denise Gray-William
First Name Middle Name Last Name

Debtor 2
(Spouse ifI tiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASHINGTON

 

Case number
(if known) E| Check if this is an
amended iiing

 

 

Official Form 106Dec
Declaration About an individual Debtor's Schedu|es ms

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.

- Sign Be|ow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

|:|No

l Ves. Name of person Steven Suddarth Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Officiai Form 119)

 

   

 

Under penalty of perjury, i declare that l have read the summary and schedules filed with this declaration and
Doris Denise Gray-William

/M¢%W X
Signature of Debtor 1
Date 7 w/z`/Oz@ /C; Date

Signature of Debtor 2

 

Ofiicial Form 106Dec Dec|aration About an individual Debtor's Schedu|es

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Case 19-10740-Cl\/lA DOC 1 Filed 03/06/19 Ent. 03/06/19 09213235 PQ. 31 Of 51

 

Fill in this information to identify your case

Debtor1 Doris Denise Gray-William
First Name Middle Name Last Name

Debtor 2
(Spouse if, tiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DlSTR|CT OF WASH|NGTON

 

Case number
(if known)

 

[] Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4116

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

_ Give Detai|s About Your Marital Status and Where You Lived Before

1. What is your current marital status?

l:l Married
l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

lNo

l:l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

3. thhin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and tenitories include Arizona, Califomia, |daho, Louisiana, Nevada, New Mexico, Pueito Rico, Texas, Washington and Vihsconsin.)

l'_'l No
l Yes. Make sure you till out Schedule H.' Your Codebtors (Ofiiciai Form 106H).

Part 2 Explain the Sources of Your income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor1.

l:l No
l Yes. Fiii in the details

 

 

From January 1 of current year until l Wages, commissions $7,305_00 [] Wagesl Commissions,
the date you filed for bankruptcy: bonuses’ tips bonuses, tips
[] Operating a business l:l Operating a business
Official Form 107 Statement of Flnanclal Affairs for individuals Filing for Bankruptcy page 1
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Debtor1 Doris Denise Gray-William Case number (ifknown)

 

 

 

For last calendar year: l - - _ $0.00 l:l Vlla es commissions
(January 1 to December 31, 2017 ) bor:`l':egsei’i:;mm'ss|°ns' &£ 020 [ bonusegs, tips l
l:l Operating a business l:l Operating a business
-"~ i/ to debt
For the calendar year before that: - Wa es mmmi§‘;i;§?gb xi $0.00 /E Wages, commissions,
g l ,
(January 1 to December 31, 2016 ) bonuses’ tips l } 3 3 41 bonuses tips
l:l Operating a business m Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Exampies of otherincome are aiimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and gambling and lottery
winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separateiy. Do not include income that you listed in line 4.

l:l No
l Yes. Fill in the details.

   

 

From January 1 of current year until S°ciaj Security y $'_ 00
the date your filed for bankruptcy: Benems 7 5 7 0 O
For last calendar year: Social Security $._oo

(January 1 to December 31, 2017 ) Be“efits

°tt“),@

For the calendar year before that: Social Security $._og
(January 1 to December 31, 2016 ) Benems q ¢€ 7

 

List Certain Payments You Made Before You Fiied for Bankruptcy

6. Are either Debtor 1 s or Debtor 2's debts primarily consumer debts?

El No. Neither Debtor1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U. S. C. § 101(8) as "incurred by an
individual primarily for a personal, family, or household purpose."

During the 90 days before you nled for bankruptcy, did you pay any creditor a total of $6,425* or more?
n No. Go to line 7.
l:l Yes List below each creditor to whom you paid a total'of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and aiimony. Also, do

not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

l Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you nied for bankruptcy, did you pay any creditor a total of $600 or more?

El No. co to line 7.

- Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Doris Denise Gray.Wi||iam Case number (ifknown)

 

    
         

ss

 

 

Global Lei`lding $371.00 monthly $1,113.00 $13,000.00 l:l Mortgage
for the Chrysler l Car
200 Cl Credit Card
l:l Loan Repayment
C| Suppiiers or vendors
U Other_
Prestige Financia| $380.00 monthly $1,140.00 $1,200.00 El Mortgage
payments for 2008 - Car
:;::;';d paying in iii credit card
June or 2018 m L°a“ Repayme“‘
l:l Suppiiers cr vendors
l:l Other__

 

Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an oflicer, director, person in controi, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and
alimony,

l No
l:] Yes. List ali payments to an insider.

 

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

include payments on debts guaranteed or cosigned by an insider.

l No

L_.l Yes. List ali payments to an insider

     
 

ldenth Legal Actions, Repossessions, and Foreclosures

9.

10.

Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List ali such matters, including personal injury cases, small claims actions, divorces, collection sults, paternity actions, support or custody
modifications and contract disputes.

l No
El Yes. Fill in the details.

 

Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check ali that apply and fill in the details below.

L`..l No.Gotoline11.
l Yes. Fiii in the information below.

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 Doris Denise Gray.Wij\jam Case number (ifknown)

 

        

Gamished wages garnished wages $213.75

l:l Property was repossessed
l] Property was foreclosed.

- Property was garnished.

l:l Property was attached, seized or levied.

11. Vlhthin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

l No
i.`.i Yes. Fiii in the details

     
 

12. thhin 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a

court-appointed receiver, a custodian, or another official?
- No
|:l Yes

mist Certain Gifte and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l No

l:l Yes. Fill in the details for each gift.

   

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
l No

l`_'.l Yes. Fill in the details for each gift or contribution.

 

mist Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

. No
l'_`l Yes. Fill in the detaiis.

      

Official Form 107 l Statement of Financiai Affairs for individuals Filing for Bankruptcy page 4

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Debtor1 Doris Denise Gray-William Case number (ifknown)

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

l:l No
l Yes. Fill in the details

         

 

Afferdable Documents 5 l ' 5 511 1118 5 ' ' s299.0o
212 wells Ave s #107

Renton, WA 98057

Kirn sandher (atterney) 5111/18 $25.00
wA

 

17. \Mthin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal vn'th your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l No
Ei Yes. Fill in the details

 

18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mcr@age on your property). Do not
include gifts and transfers that you have already listed on this statement.
l No

l:l Yes. Fill in the details.

      

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

. No
Ei Yes. Fill in the details

 

List of Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benelit, ciosed,
so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.
l No

l'_'l Yes. Fill in the detaiis.

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5
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Debtor1 Doris Denise Gray.Wi||iam Case number (ifknown)

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

l No
El Yes.l=illincnedetails.

     

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No
i'_'i Yes. Fill in the delails.

 

identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed froni, are storing for, or hold in trust
for someone.

l No
Ei Yes. Fill in the details

 

Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federai, state, or local statute or regulation concerning poliution, contamination, releases of hazardous or

toxic substances, wastes, or material into the air, land, soi|, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or materiai.

Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiai, poiiutant, contaminant. or similar tenn.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l No
El Yes. Fill in the details

     
 

25. Have you notified any govemmentai unit of any release of hazardous materiai?

l No
El Yes.Fillinthederails.

vw

   

   

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6
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Debtor1 Doris Denise Gray-William Case number (ifknown)

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

l No
l'_'l Yes. Fill in the detaiis.
§§

      

mive Dewiis About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
EI A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
l'_'l An officer, director, or managing executive of a corporation
\:l An owner of at least 5% of the voting or equity securities of a corporation

- No. None of the above applies. Go to Part 12.

n ¥es. Check all that apply above and fill in the details below for each business.

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

l No
l:l Yes. Fiil in the details beiow.

 

men Below

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

Doris Denise Gray-William
Signature of Debtor 1

Date 79 /Q " QO/Y Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Officiai Form 107)?
l No

El Yes

    
 

 

   

Signature of Debtor 2

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Cl No

- Yes. Name of Person Steven Suddarth . Attach the Bankruptcy Petition Preparer‘s Notice, Dec/aration, and Signature (Officiai Form 119).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

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Fill in this information to identify your case

Debtor1 Doris Denise Gray-William
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: WESTERN DiSTRlCT OF WASH|NGTON

 

Case number
(if known)

 

[] Check if this is an
amended filing

 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible t'or supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

md Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part1 of Schedule D: Creditors Who Have Claims Secured by Property (Officiai Form 106D), fill in the
information beiow.

   

 

 

CredifOI”S Global Credit Union l:l Surrender the properiy. m NO
name! l:l Retain the property and redeem it.

. . n Retain the property and enter into a l Ves
Descrmf\or\ Of 2016 Chrysler 200 Reaflinnallon Agreemenl.
property . Retain the property and [expiain]:
securing debt debtor will decide whether l .' not to

reaffirm the debt

Creditor's Prestiege Financial Svcs l Surrender me propeny. m N°
name: l:l Retain the property and redeem it. ga

_ _ l:l Retain the property and enter into a Yes
DeSC"Ptl°n Of 2008 Nissan SL 116000 miles Reafiirmation Agreement.
Property l:l Retain the property and [expiain]:

securing debt:

 

 

List Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officiai Form 1066), fill
in the information below. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor1 Doris Denise GraLWilliam Case number (ifknown)

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

mma-low

 

I:I No
l:l Yes
l:l No
[] Yes
n No
El Yes
\:l No
i:l Yes
l:l No
U Yes
i:i No
i.'_`| Yes
ij No

Ei Yes

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal
property that ls subject to an unexpired lease.

X

Ac M/MLM”O X

 

Doris Denise Gray-Williaml Signature of Debtor 2
Signature of Debtor 1

Date ?// /7//(;0 /§/ Date

Ofncial Form 108

 

Statement of intention for individuals Filing Under Chapter 7

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STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341 3

INTRODUCTION

Pursuant to the Bankruptcy Ref`oim Act of 1994, the Oflice of the United States Trustce, United States Deparlment of Justice, has prepared this information sheet to help

you understand some of the possible consequences of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make you
aware of...

(l) the potential consequences of seeking a discharge in bankruptcy, including tile effects on credit history;
(2) the effect of receiving a discharge of debts

(3) the effect of reaffirming a debt; and

(4) your ability to file a petition under a different chapter of the Bankruptcy Code.

There are many other provisions of the Bankruptcy Code that may affect your situation This information sheet contains only general principles of law and is not a
substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specific case, you should consult with your
lawycr.

WHAT IS A DISCHARGE?

The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a court order that says
you do not have to repay your debts, but there arc a number of exceptions Deth which may not bc discharged in your chapter 7 case include, for example, most taxes,
child support, alimony, and student loans; court-ordered fines and rcstitution; debts obtained through li'aud or dcoeption; and personal injury debts caused by driving
while intoxicated or taking drugs. Your discharge may be denied entirely if you, for example, destroy or conceal property', destroy, conceal or falsify rccords; or make a
false oath. Creditors cannot ask you to pay any debts which have been discharged You can only receive a chapter 7 discharge once every eight (8) years

WHAT ARE THE POTENTIAL EFFECTS 0F A DISCHARGE?

The fact that you filed bankruptcy can appear on your credit report for as long as 10 years, Thus, filing a bankruptcy petition may affect your ability to obtain credit irl
the future Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for bankruptcy.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

Altcr you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own, Reaffirming a debt means that you sign and file
with the court a legally enforceable document, which states that you promise to repay ali or a portion of the debt that may otherwise have been discharged in your j
bankruptcy casc. Rcaffirmation agreements must generally be filed with the court within 60 days alter the first meeting of thc creditors `

Reaff`irmation agreements are strictly voluntary - they arc not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay any debt
instead of signing a reaffirmation agreement but there may be valid reasons for wanting to reaffirm a particular debt

Reaffirmation agreeman must not impose an undue burden on you or your dependents and must be in your best interest If you decide to sign a reaffirmation
agreeman you may cancel it at any time before the court issues your discharge order g within sixty (60) days after the reaffirmation agreement was filed with the
court, whichever is latcr. If you reaffirm a debt and fail to make the payments required in the reaffirmation agreement the creditor can take action against you to
recover any property that was given as security for the loan and you may remain personally liable for any remaining debt.

OTHER BANKRUPTCY OPTIONS

You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7, you may be
eligible to convert your case to a different chaptcr.

Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically fcasible, all property you own
that is not exempt from these actions.

Chapter ll is the reorganization chapter most commonly used by businesses, but it is also available to individuals Creditors vote on whether to accept or reject a plan,
which also must be approved by the court While the debtor normally remains in control of the assets, the court can order the appointment of a trustee to take possession
and control of the business.

Chapter 12 offers bankruptcy relief to those who qualify as family farmers Family farmers must propose a plan to repay their creditors over a three-to-five year period
and it must be approved by the court. Plan payments are made through a chapter 12 trustce, who also monitors the dcbtor’s farming operations during the pendency of
the plarl4

Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be approved by the bankruptcy court The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive a discharge after they
complete their chapter 13 repayment plan, Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,347,500 ($336,900 in
unsecured debts and $1,010,650 in secured debts).

AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION,
I CLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

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4a - -
Debtor's Signature

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Notice Required by 11 U.S.C. § 342(b) for
individuals Filing for Bankr@tgy (Form 2010)

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

|ndividuals who meet the qualifications may tile under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Vo|untary repayment plan
for family farmers or
fishermen

Chapter 13 - Vo|untary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee
+ $15 trustee surchagg `

$335 total fee

Chapter 7 is for individuals who have hnancial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

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most fines, penalties, forfeituresl and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:

fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

lf your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Montth lncome (Officiai Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

lf your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Officiai Form
122A-2).

lf your income is above the median for your state, you
must file a second form -the Chapter 7 Means Test
Calculation (OfEcial Form 122A-2). The calculations on
the form-- sometimes called the Means Test--deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. lf

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can Hle a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. lf a
motion is filed, the court will decide if your case should
be dismissed To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

lf you are an individual filing for chapter 7 bankruptcy, »
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property, ~
you must list it on Schedule C: The Property You Claim
as Exempt (Officiai Form 1060). lf you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee
Chapter 11 is often used for reorganizing a businessl

but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefly.

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Read These lm ortant Warninc s

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you fi|e.
Only an attorney can give you legal advice about what can'happen as a result of filing for bankruptcy
and what your options are. lf you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

A|though the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successful|y. The rules are technical, and a mistake
or inaction may harm you. lf you file without an attorney, you are still responsible for knowing and

following all of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
famers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must Hle with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. lf
the court approves your plan, the court will allow you
to repay your debtsl as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacityl

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Bankruptcy crimes have serious consequences

|f you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury-either oraliy or in writing-in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney Genera| acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Ochial Form 101 ). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for lnd|viduals Filing for Bankruptcy (Fonn 2010)

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A married couple may file a bankruptcy case
together-called a joint case, lf you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). |f you are Hling a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
lnternet.

ln addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. lf you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:/ljustice.Bv/ust/eo/hapcp_a/ccde/cc approved.html

ln Alabama and North Carolina, go to:
http://www.uscourts.gg/FederalCourts/Bankrug:y/
BankruptcyResourceslApprovedCredit

AndDethounselors.aspx.

lf you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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ll U.S.C. § 527(a)(2) Disclosure
In accordance With section 527(a)(2) of the Bankruptcy Code, be advised that:

l. All information that you are required to provide with a bankruptcy petition and during a
bankruptcy case must be complete, accurate, and truthful

2. All assets and liabilities must be completely and accurately disclosed, With the replacement

value of each asset as defined in section 506 listed after reasonable inquiry to establish such
value. '

3. Current monthly income, the amounts specified in the “means test” under section 707(b)(2),
and disposable income in chapter 13 cases must be stated after reasonable inquiry.

4. Information that you provide during your bankruptcy case may be audited, and the failure to
provide such information may result in dismissal of the case or other sanction, including a
criminal sanction,

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IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
represent you, or you can get help in some localities from a bankruptcy petition preparer who is
not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case

to help you evaluate how much service you need. Although bankruptcy can be complex, many
cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
different forms of debt relief available under the Bankruptcy Code and Which form of relief is
most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
limitations To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
your case starts, you Will have to attend the required first meeting of the creditors where you may
be questioned by a court official called a 'trustee' and by creditors

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
may want help deciding whether to do so. A creditor is not permitted to coerce you into
reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford
over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
continuation hearing on your plan which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
you will want to find out what should be done from someone familiar with that type of relief.

Your bankruptcy case may also involve litigation You are generally permitted to represent
yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
can give you legal advice.

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United States Bankruptcy Court
Western District of Washington

In re Doris Denise Gray-William Case No.

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge

Date?€ y7/ /'é;/ 475/§ JMW w M/MMMM

Doris Denise Gray-William
Signature of Debtor

 

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Doris Denise Gray-William
35703 16th Ave S #L202
Federal Way, WA 98003

Bank of Missouri
5109 S Broadband Ln
Sioux Falls, SD 57109

CCS

Payment Processing Center
PO Box 55126

Boston, MA 02205

Commenity Bank/Asjstwrt
PO Box 182789
Columbus, OH 43218

Credit One Bank
PO Box 98872
Las Vegas, NV 89193

Creditor
212 Wells Ave S #107
Renton, WA 98057

DSHS Dept of Financial Rec
PO Box 9501
Olympia, WA 98507

ED financial
120 N Steven Oakes
Knoxville, TN 37922

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Eli Graham
35703 16th Ave S #P305
Federal Way, WA 98003

First Premier Bank
3820 N Louise Ave
Sioux Falls, SD 57107

Ginny'S Inc
1515 S let St
Clinton, IA 52732

Global Credit Union
1520 W 3rd Ave PO Box 3200
Spokane, WA 99204

Jesse D Conway Atty at Law
5500 NE 107th Ave
Vancouver, WA 98662

King Cnty Dist Crt S Div Burien Crt
601 SW 149th St
Burien, WA 98166

KIng County Dist Court
601 SW 149th
Seattle, WA 98166

MCM
2365 Northside Dr Ste e300
San Diego, CA 92108

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Midland Funding
2365 Northside Dr #300
San Diego, CA 92108

MIdnight Velvet
1112 7th Ave

PO Box 2816
Monroe, WI 53566

Prestiege Financial Svcs
1420 S 500 W
Salt Lake City, UT 84115

Quick Collect
PO Box 821330
Vancouver, WA 98682

Social Security Administration
PO Box 3430
Philadelphia, PA 19122

Swiss Colony Mongomery
1515 S let St
Clinton, IA 52732

Virginia Mason Hospital
PO Box 34924
Seattle, WA 98124

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